
In re Lamison, Charles; — Plaintiff(s); applying for supervisory and/or remedial writ; Parish of Orleans, Criminal District Court, Div. “C”, No. 271-860; Criminal District Court, Div. “F”, No. 269-659; Criminal District Court, Div. “G”, No. 285-339.
Relator represents that the district court has failed to act timely on two motions for production of documents he filed in separate case numbers in July, 1994. If relator’s representation is correct, the district court is ordered to consider and act on the motions. If relator’s representation is incorrect, the district court is ordered to accept, file, and act upon the pleading which is herewith transferred to the district court. The district court is ordered to provide this Court with a copy of its judgment.
LEMMON, J., not on panel.
